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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7        BRANDON HODGES,                                  Case No. 18-cv-01829-HSG
                                   8                     Plaintiff,                          ORDER STAYING CASE
                                   9              v.

                                  10        COMCAST CABLE
                                            COMMUNICATIONS, LLC,
                                  11
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           Defendant Comcast Cable Communications, LLC (“Comcast”) removed this putative class
                                  14    action from Alameda County Superior Court on March 23, 2018. Dkt. No. 1. On March 30, 2018,
                                  15    Comcast filed a motion to compel arbitration and stay litigation pending arbitration, based on an
                                  16    allegedly “binding arbitration provision requiring resolution of all claims related to Comcast
                                  17    through an individual arbitration proceeding.” Dkt. No. 7 (“Mot.”), at 1. Comcast further claims
                                  18    the Court should “stay this action pursuant to Sections 3 and 4 of the Federal Arbitration Act
                                  19    (“FAA”).” Id. Plaintiff filed an opposition to the motion on April 13, 2018, see Dkt. No. 18
                                  20    (“Opp.”), Defendant replied to that opposition on April 20, 2018, see Dkt. No. 19 (“Reply”), and
                                  21    the Court held a hearing on the motion on September 6, 2018, see Dkt. No. 43.
                                  22   I.     BACKGROUND
                                  23           The central dispute on Defendant’s motion is whether the Supreme Court of California’s
                                  24    recent holding in McGill v. Citibank, N.A., 393 P.3d 85 (Cal. 2017), precludes enforcement of the
                                  25    contested arbitration provision. Plaintiff argues the arbitration clause constitutes “a waiver of
                                  26    Plaintiff’s right to seek public injunctive relief in any forum, which is unenforceable under
                                  27    McGill.” See Opp. at 5. Defendant argues that McGill’s holding “is preempted by the FAA.” See
                                  28    Reply at 7. But this precise dispute is pending on appeal before the Ninth Circuit in McArdle v.
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                                   1   AT&T Mobility LLC, No. 09-cv-01117-CW, 2017 WL 4354998 (N.D. Cal. Oct. 2, 2017), appeal

                                   2   docketed, No. 17-17246 (9th Cir. Nov. 2, 2017), Blair v. Rent-A-Ctr., Inc., No. 17-02335-WHA,

                                   3   2017 WL 4805577 (N.D. Cal. Oct. 25, 2017), appeal docketed, No. 17-17221 (9th Cir. Oct. 30,

                                   4   2017), Tillage v. Comcast Corp., No. C-17-6477 VC (N.D. Cal. Feb. 15, 2018), appeal docketed,

                                   5   No. 18-15288 (9th Cir. Feb. 22, 2018), and Roberts v. AT&T Mobility LLC, No. 15-cv-03418-

                                   6   EMC, 2018 WL 1317346 (N.D. Cal. Mar. 14, 2018), appeal docketed, No. 18-15593 (9th Cir.

                                   7   Apr. 6, 2018).

                                   8   II.      LEGAL STANDARD

                                   9            “[T]he power to stay proceedings is incidental to the power inherent in every court to

                                  10   control the disposition of the causes on its docket with economy of time and effort for itself, for

                                  11   counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). In considering

                                  12   whether to issue a stay, courts weigh: (1) “the possible damage which may result from the granting
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                                  13   of a stay,” (2) “the hardship or inequity which a party may suffer in being required to go forward,”

                                  14   and (3) “the orderly course of justice measured in terms of the simplifying or complicating of

                                  15   issues, proof, and questions of law which could be expected to result from a stay.” CMAX, Inc. v.

                                  16   Hall, 300 F.2d 265, 268 (9th Cir. 1962) (citing Landis, 299 U.S. at 254-55). Whether to stay an

                                  17   action is a matter entrusted to the discretion of the district court. See Landis, 299 U.S. at 254

                                  18   (“How this can best be done calls for the exercise of judgment, which must weigh competing

                                  19   interests and maintain an even balance.”).

                                  20   III.     DISCUSSION

                                  21            As to the first factor, the Court finds it unlikely that a stay would cause harm to either

                                  22   party. At the hearing on Defendant’s motion, neither party’s counsel identified any concrete

                                  23   prejudice to their respective clients from a stay pending guidance from the Ninth Circuit, other

                                  24   than the generalized prospect that resolution of this case could be delayed somewhat. With respect

                                  25   to the second factor, neither party asserts hardship or inequity in being required to go forward.

                                  26   Most significantly, as to the third factor, given that the central dispute before the Court is identical

                                  27   to issues presented in McArdle, Blair, Tillage, and Roberts, “guidance from the Ninth Circuit

                                  28   would aid in the orderly, just resolution of this case.” See Leonhart v. Nature's Path Foods, Inc.,
                                                                                           2
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                                   1   No. 13-cv-00492-BLF, 2015 WL 3548212, at *4 (N.D. Cal. June 5, 2015). Moreover, it would be

                                   2   inefficient for the Court and the parties to invest resources in litigating a legal issue that may be

                                   3   substantially affected by the decisions in the pending appeals.

                                   4            Taking all of these factors into account, the Court finds in its discretion that staying this

                                   5   case pending guidance from the Ninth Circuit in McArdle, Blair, Tillage, and Roberts best serves

                                   6   the efficient use of party and judicial resources.

                                   7   IV.      CONCLUSION

                                   8            This case is ordered STAYED. The parties are ORDERED to provide the Court notice in a

                                   9   joint submission when the Ninth Circuit issues an opinion or memorandum disposition in

                                  10   McArdle, Blair, Tillage, or Roberts. If no disposition has issued in any of the four appeals by

                                  11   February 16, 2017, the parties are directed to submit a joint report of no more than two pages on

                                  12   that date regarding the status of the appeals.
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                                  13            IT IS SO ORDERED.

                                  14   Dated: 11/16/2018

                                  15                                                        ______________________________________
                                                                                            HAYWOOD S. GILLIAM, JR.
                                  16                                                        United States District Judge
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